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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 In Re:                                           §   Chapter 7
                                                  §
 HOUSTON REAL ESTATE PROPERTIES,                  §   Case No. 22-32998
 LLC,                                             §
                                                  §
           Debtor.                                §
                                                  §
                                                  §
 JOHN QUINLAN, OMAR KHAWAJA,                      §
 AND OSAMA ABDULLATIF, et al.,                    §
                                                  §
           Plaintiffs,                            §
                                                  §   Adversary No. 23-03141
 v.                                               §
                                                  §
 HOUSTON REAL ESTATE PROPERTIES,                  §
 LLC, et al.,                                     §
                                                  §
           Defendants.

               CYPRESS BRIDGECO, LLC’S EMERGENCY
  MOTION TO EXPUNGE LIS PENDENS AND EMERGENCY HEARING REQUEST

Emergency relief has been requested. Relief is requested not later than December 23, 2024.

Emergency relief has been requested. If the Court considers the motion on an emergency
basis, then you will have less than 21 days to answer. If you object to the requested relief or
if you believe that the emergency consideration is not warranted, you should file an
immediate response.

          Defendant Cypress BridgeCo, LLC moves the Court to expunge two (2) invalid lis

pendens recorded by Plaintiff Osama Abdullatif.

          Specifically, Abdullatif previously recorded two Notices of Lis Pendens against 2727

Kirby #26L, Houston, Texas 77098 (the “Property”) in June and July 2023. Despite this Court’s

order permitting BridgeCo’s foreclosure of the Property [Dkt. 155], and the absence of any direct

real property claims involving the Property, Abdullatif has refused to release these lis pendens.
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       Accordingly, BridgeCo respectfully requests that the Court set an emergency hearing to

expunge Abdullatif’s invalid lis pendens for the following reasons.

                                      I.      INTRODUCTION

           1.    BridgeCo is the former secured lender on properties previously owned by

 Defendant Ali Choudhri and other entities affiliated with Mr. Choudhri, including Defendants

 2727 Kirby 26L LLC, 9201 Memorial Dr., LLC, and Shepherd Huldy Development I, LLC (the

 “Choudhri Defendants”). The Choudhri Defendants defaulted, and BridgeCo foreclosed on

 those properties pursuant to this Court’s order in this adversary proceeding. See Dkt. 155,

 Agreed Order Permitting Foreclosure; see also Exhibit A, BridgeCo’s Substitute Trustee’s Deed

 for the Property. That order permitted BridgeCo’s foreclosure and provided that the Court

 retained jurisdiction over any disputes related to the properties.

           2.    Now—months after BridgeCo foreclosed on the Property—Abdullatif is

 refusing to release two Notices of Lis Pendens that are interfering with the sale of the property

 located at 2727 Kirby #26L, Houston, Texas 77098. See Exhibit B, June 2023 Notice of Lis

 Pendens, Instrument No. RP-2023-228967; Exhibit C, July 2023 Notice of Lis Pendens,

 Instrument No. RP-2023-286266. 1 The earlier June 2023 Lis Pendens refers to a state court

 action that was removed to this Court, and the July 2023 Lis Pendens references this adversary

 proceeding. Both of these actions, though, assert fraud-related claims and no direct real property

 claims—a requisite for the validity of a lis pendens under the Texas Property Code.

           3.    These Lis Pendens should be expunged. There are no pending claims involving

 the Property. First, Abdullatif nonsuited his claims against BridgeCo [Dkt. 197]. Second, any




       1
           With this Emergency Motion, BridgeCo is filing two proposed orders—one for each Lis
Pendens.


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pending claims only assert a collateral interest in the Property for recovery of damages. Third,

this Court explicitly permitted BridgeCo’s foreclosure of the Property [Dkt. 155]—a foreclosure

that occurred in April of this year. See Exhibit A. As such, these Lis Pendens are subject to

expungement under Section 12.0071(c) of the Texas Property Code.

       4.      BridgeCo files this Emergency Motion because, as the Court knows from

BridgeCo’s other motions (See Adversary No. 24-03091 at Dkt. 12, 25, 31), the Property is

currently under contract for sale and these Lis Pendens are clouding title. BridgeCo will incur

significant interference and harm if these Lis Pendens are not immediately expunged.

       5.      BridgeCo accordingly moves the Court to expunge these Lis Pendens and

requests an emergency hearing for consideration of the same.

                                    II.     BACKGROUND

       6.      On October 7, 2022, Houston Real Estate Properties, LLC filed a voluntary

petition under Chapter 11 of the United States Bankruptcy Code in Case No. 22-32998 (the

“Bankruptcy Case”) in the United States Bankruptcy Court for the Southern District of Texas,

Houston Division.

       7.      Since then, parties have initiated several adversary cases under the Bankruptcy

Case, including this adversary proceeding. Specifically, Plaintiffs John Quinlan, Omar Khawaja,

and Osama Abdullatif initiated this adversary proceeding (the “Quinlan Adversary”) on August

1, 2023, as judgment creditors seeking recovery from the Choudhri Defendants and other

affiliated entities under fraud-based claims. See Dkt. 1, Original Complaint.

       8.      Later that month, Plaintiffs supplemented their Original Complaint to add

BridgeCo as a defendant asserting the same fraud-based claims. See Dkt. 26, Plaintiffs’ First

Supplemental Complaint.




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         9.      The next day, Defendant Ali Choudhri removed a state court action initiated by

 Abdullatif to this adversary proceeding that included similar claims against the Choudhri

 Defendants. See Dkt. 35, Notice of Removal; see also Exhibit D, Plaintiffs’ First Amended

 Petition.

   A. This Court retained jurisdiction over disputes related to the Property and permitted
      BridgeCo to foreclose on the Property.

         10.     The Choudhri Defendants are entities controlled by Choudhri that BridgeCo had

 loaned money to for the funding of real property interests, including the Property at 2727 Kirby

 26L, Houston, Texas 77098. BridgeCo, of course, held a security interest in those properties.

 And when the Choudhri Defendants defaulted on the loans, BridgeCo moved to exercise its

 rights to foreclose on the properties.

         11.     On March 8, 2024, the Bankruptcy Court entered an Order permitting BridgeCo

 to “pursue foreclosure, or any other remedy available to them” on the following properties:

                   (a) 2503 S. Shepherd Dr., Houston, Texas 77019;
                   (b) 2421 S. Shepherd Dr., Houston, Texas 77019;
                   (c) 2502 Huldy St., Houston, Texas 77019;
                   (d) 2424 Huldy St., Houston, Texas 77019;
                   (e) 9201 Memorial Drive, Houston, Texas 77024; and
                   (f) 2727 Kirby 26L, Houston, Texas 77098.

See Dkt. 155, Agreed Order Permitting Foreclosure (emphasis added).

       12.       As part of that Order, the Bankruptcy Court provided that it “retains jurisdiction

over any disputes related to the Properties and jurisdiction to enforce this Order as needed. . . .”

         13.   Pursuant to that order, BridgeCo posted the Properties for foreclosure the following

 month [Dkt. 155] and foreclosed on the Properties on April 2, 2024. See Exhibit A.

         14.     Then, on September 16, 2024, Plaintiffs filed a Notice of Voluntary Dismissal,

 dismissing all of their claims against BridgeCo. See Dkt. 197, Plaintiffs’ Notice of Voluntary




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 Dismissal (Nonsuit Without Prejudice) as to only Cypress BridgeCo, LLC and Magnolia

 BridgeCo, LLC.

      B. Abdullatif refuses to release the Lis Pendens blocking the sale of the Property.

         15.    Despite the Court Order [Dkt. 155] and no live, direct real property claims pending

involving the Property, Abdullatif has not released the Lis Pendens against the Property he

currently holds. Counsel for BridgeCo has conferred several times over the past couple months

with Counsel for Abdullatif regarding the need to record those releases. Abdullatif has yet to do

so.

         16.    Because the Lis Pendens are obstructing and interfering with the sale of the

Property, BridgeCo is now forced to seek the expungement of those Lis Pendens from this Court.

BridgeCo will incur significant interference and harm if the Lis Pendens are not immediately

expunged.

         17.    This Court can properly expunge the Lis Pendens: (1) the Court has “retained

jurisdiction over any disputes related to the Properties and jurisdiction to enforce [its] Order,” and

(2) 11 U.S.C. § 105 allows the Court to “issue any order, process, or judgment that is necessary or

appropriate . . . to enforce or implement court orders or rules, or to prevent an abuse of process.”

See § 105; see also Dkt. 155.

         18.    Accordingly, BridgeCo respectfully moves the Court to expunge the Lis Pendens.

                                III.   ARGUMENT & AUTHORITIES

         19.    A notice of lis pendens filed in Texas is governed by the Texas Property Code. TEX.

PROP. CODE § 12.0071, et. seq. The Texas Property Code provides that a party to an action in

connection with which a notice of lis pendens has been filed may “(1) apply to the court to expunge




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the notice; and (2) file evidence, including declarations, with the motion to expunge the notice.”

TEX. PROP. CODE § 12.0071(b).

       20.      “A notice of lis pendens may only be filed during the pendency of an action

involving (1) title to real property, (2) the establishment of an interest in real property, or (3) the

enforcement of an encumbrance against real property.” In re Briar Bldg. Houston LLC, 609 B.R.

589, 597 (Bankr. S.D. Tex. 2019) (citing to TEX. PROP. CODE 12.007(a). “In other words, a nexus

must exist between the underlying suit and the Property in question.” In re Briar Bldg. Houston

LLC, 609 B.R. 589 at 598.

       21.      And “the suit on which the lis pendens is based must claim a direct interest in

real property rather than a collateral interest.” In re Jackson, No. 14-23-00753-CV, 2024 WL

1102888, at *3 (Tex. App.—Houston [14th Dist.] Mar. 14, 2024, no pet.) (emphasis added). “If

the suit seeks a property interest only to secure the recovery of damages or other relief that the

plaintiff may be awarded, the interest is merely collateral and will not support a lis pendens.” In

re Jackson, 2024 WL 1102888 at *3. Texas’s Fourteenth Court of Appeals in Houston has clarified

this precept:

                “[T]he plaintiff’s suit did ‘not seek recovery to the title to relator’s property
                nor to establish an interest in the [property] except as security for the
                recovery of ... damages ... on his fraud allegation and only to the extent he
                [could] trace the proceeds’ used to purchase of the property. Therefore, our
                court held that the plaintiff’s claim was ‘essentially a prayer for a
                judgment lien, affects the property only collaterally, and does not come
                within the provisions of § 12.007.’”

Id. (quoting Moss v. Tennant, 722 S.W.2d 762, 762-63 (Tex. App.—Houston [14th Dist.] 1986,

orig. proceeding) (emphasis added) (internal quotation marks omitted)).




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       22.    Here, the Lis Pendens should be expunged because there are no pending direct

claims involving the Property, and “no nexus [] exist[s] between the underlying suit and the

Property in question.” In re Briar Bldg. Houston LLC, 609 B.R. at 598.

       23.    Plaintiffs John Quinlan, Omar Khawaja, and Osama Abdullatif (the recorder of the

Lis Pendens) voluntarily nonsuited their claims against BridgeCo more than three months ago. See

Dkt. 197. Regardless, there are no direct real property claims involving the Property—only claims

seeking recovery of damages that merely involve the Property as a collateral interest. This is

insufficient to survive expungement under Section 12.0071 of the Texas Property Code. See TEX.

PROP. CODE § 12.0071(c).

       24.    Accordingly, BridgeCo respectfully requests that the Court expunge the invalid Lis

Pendens.

                                      IV.     CONCLUSION

        For the reasons stated above, BridgeCo respectfully requests that the Court grant this

 Emergency Motion to Expunge the Lis Pendens recorded by Plaintiff Osama Abdullatif. The

 Lis Pendens are obstructing BridgeCo’s sale of the Property, and its expungement is necessary

 to prevent further harm to BridgeCo’s business operations. BridgeCo also requests an

 emergency hearing for the expungement to prevent additional interference with the pending sale.

 Accordingly, BridgeCo prays that the Court expunge these Lis Pendens and grant all other

 appropriate relief, including BridgeCo’s attorneys fees and costs.


Dated: December 20, 2024,                    MCDOWELL HETHERINGTON LLP

                                             By:
                                                    Robert P. Debelak III
                                                    Texas Bar No. 24078410
                                                    Justin R. Huber
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                              CERTIFICATE OF ACCURACY

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).




                                                    Justin R. Huber




                             CERTIFICATE OF CONFERENCE

        I certify that I have conferred with counsel for Plaintiff Osama Abdullatif via phone and
email regarding the invalid lis pendens recorded against the Property and the emergency nature of
the release or expungement of the same. At the date and time of filing this Motion, Abdullatif has
not recorded a release of the Lis Pendens.



                                                    /s/ Robert P. Debelak III
                                                    Robert P. Debelak III



                                CERTIFICATE OF SERVICE

       I certify that, on the date set forth above, I cause a copy of the foregoing motion to be
served via the Electronic Case Filing System in accordance with the Federal Rules of Bankruptcy
Procedure.




                                                      Justin R. Huber




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